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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            ) 8:04CR337
                     Plaintiff,             )
                                            ) ORDER FOR WRIT OF
                     vs.                    ) HABEAS CORPUS AD PROSEQUENDUM
                                            )
TAMARA SHEFFIELD,                           )
                                            )
                     Defendant.             )




      IT IS ORDERED that a Writ of Habeas Corpus Ad Prosequendum be issued as requested

and the motion for writ (Filing No. 143) be granted.

      DATED this 9th day of January, 2008.


                                     BY THE COURT:

                                     s/ Thomas D. Thalken
                                     United States Magistrate Judge
